Case 1:19-cr-20551-FAM Document 19 Entered on FLSD Docket 01/15/2020 Page 1 of 7

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 19-20551-CR-MORENO/LOUIS

UNITED STATES OF AMERICA

 

v.
ERIC LIN,
a/k/a “Jake Howard,”
a/k/a “Eric A Schopenhauer,”
Defendant.
/
PLEA AGREEMENT

The United States Attorney’s Office for the Southern District of Florida (“this Office”) and
ERIC LIN, a/k/a “Jake Howard,” a/k/a “Eric A Schopenhauer,” (hereinafter referred to as the
“defendant”’) enter into the following agreement:

1. The defendant agrees to plead guilty to Count 4 of the indictment, which count charges
the defendant with knowingly transmitting in interstate commerce a communication to injure the
person of another, in violation of Title 18, United States Code, Section 875(c).

2. This Office agrees to seek dismissal of counts 1, 2, 3, 5, and 6 of the indictment, as to
this defendant, after sentencing.

3. The defendant is aware that the sentence will be imposed by the Court after considering
the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter “Sentencing
Guidelines”). The defendant acknowledges and understands that the Court will compute an
advisory sentence under the Sentencing Guidelines and that the applicable guidelines will be
determined by the Court relying in part on the results of a pre-sentence investigation by the Court’s

probation office, which investigation will commence after the guilty plea has been entered. The

cc-nerrt-tttnct manpuiblursoe-ttttipptitee
 

Case 1:19-cr-20551-FAM Document 19 Entered on FLSD Docket 01/15/2020 Page 2 of 7

defendant is also aware that, under certain circumstances, the Court may depart from the advisory
sentencing guideline range that it has computed, and may raise or lower that advisory sentence
under the Sentencing Guidelines. The defendant is further aware and understands that the Court
is required to consider the advisory guideline range determined under the Sentencing Guidelines,
but is not bound to impose a sentence within that advisory range; the Court is permitted to tailor
the ultimate sentence in light of other statutory concerns, and such sentence may be either more
severe or less severe than the Sentencing Guidelines’ advisory range. Knowing these facts, the
defendant understands and acknowledges that the Court has the authority to impose any sentence
within and up to the statutory maximum authorized by law for the offense identified in paragraph
1 and that the defendant may not withdraw the plea solely as a result of the sentence imposed.

4. The defendant also understands and acknowledges that the Court may impose a
statutory maximum term of imprisonment of up to five (5) years, followed by a term of supervised
release of up to three (3) years. In addition to a term of imprisonment and supervised release, the
Court may impose a fine of up to $250,000, and may order forfeiture and restitution.

5. The defendant further understands and acknowledges that, in addition to any sentence
imposed under paragraph 4 of this agreement, a special assessment in the amount of $100 will be
imposed on the defendant. The defendant agrees that any special assessment imposed shall be
paid at the time of sentencing. Ifa defendant is financially unable to pay the special assessment,
the defendant agrees to present evidence to this Office and the Court at the time of sentencing as
to the reasons for the defendant’s failure to pay.

6. This Office reserves the right to inform the Court and the probation office of all facts
pertinent to the sentencing process, including all relevant information concerning the offenses

committed, whether charged or not, as well as concerning the defendant and the defendant’s
2
 

Case 1:19-cr-20551-FAM Document 19 Entered on FLSD Docket 01/15/2020 Page 3 of 7

background. Subject only to the express terms of any agreed-upon sentencing recommendations
contained in this agreement, this Office further reserves the right to make any recommendation as
to the quality and quantity of punishment.

7. This Office agrees that it will recommend at sentencing that the Court reduce by two
levels the sentencing guideline level applicable to the defendant’s offense, pursuant to Section
3E1.1(a) of the Sentencing Guidelines, based upon the defendant’s recognition and affirmative
and timely acceptance of personal responsibility. If at the time of sentencing the defendant’s
offense level is determined to be 16 or greater, this Office will file a motion requesting an
additional one level decrease pursuant to Section 3E1.1(b) of the Sentencing Guidelines, stating
that the defendant has assisted authorities in the investigation or prosecution of the defendant’s
own misconduct by timely notifying authorities of the defendant’s intention to enter a plea of
guilty, thereby permitting the government to avoid preparing for trial and permitting the
government and the Court to allocate their resources efficiently. This Office, however, will not
be required to make this motion and this recommendation (or any agreed recommendation
contained within this plea agreement) if the defendant: (1) fails or refuses to make a full, accurate
and complete disclosure to the probation office of the circumstances surrounding the relevant
offense conduct; (2) is found to have misrepresented facts to the government prior to entering into
this plea agreement; or (3) commits any misconduct after entering into this plea agreement,
including but not limited to committing a state or federal offense, violating any term of release, or
making false statements or misrepresentations to any governmental entity or official.

8. This Office and the defendant agree that, although not binding on the probation office
or the Court, they will jointly recommend that the Court make the following findings and

conclusions as to the sentence to be imposed:
 

Case 1:19-cr-20551-FAM Document 19 Entered on FLSD Docket 01/15/2020 Page 4 of 7

a. Pursuant to Section 2A6.1(a)(1) of the United States Sentencing Guidelines, the
applicable base offense level is 12;
b. the two-level enhancement pursuant to section 2A6.1(b)(2)(A) applies because the
offense involved more than two threats; and
c. the three-level enhancement in Section 3A1.1(a) applies because the defendant
intentionally selected the object of the offense of conviction based on nationality
and ethnicity.
With the exception of these three agreed upon non-binding joint recommendations, the parties
otherwise retain their full rights to advocate regarding the applicable advisory Sentencing
Guidelines and the ultimate sentence to be imposed.
9. The defendant is aware that the sentence has not yet been determined by the Court.
The defendant also is aware that any estimate of the probable sentencing range or sentence
that the defendant may receive, whether that estimate comes from the defendant’s attorney, this
Office, or the probation office, is a prediction, not a promise, and is not binding on this Office, the
probation office or the Court. The defendant understands further that any recommendation that
this Office makes to the Court as to sentencing, whether pursuant to this agreement or otherwise,
is not binding on the Court and the Court may disregard the recommendation in its entirety. The
defendant understands and acknowledges, as previously acknowledged in paragraph 3 above, that
the defendant may not withdraw his plea based upon the Court’s decision not to accept a sentencing
recommendation made by the defendant, this Office, or a recommendation made jointly by the
defendant and this Office.
10. The defendant agrees, in an individual and any other capacity, to forfeit to the United

States, voluntarily and immediately, all right, title and interest to any property, real or personal,
4

 
Case 1:19-cr-20551-FAM Document 19 Entered on FLSD Docket 01/15/2020 Page 5 of 7

which constitutes or is derived from proceeds traceable to the offense of conviction. In addition,
the defendant agrees to forfeiture of substitute property pursuant to 21 U.S.C. § 853(p). The
defendant also understands and acknowledges that the Court must order restitution for the full
amount of the victim’s losses pursuant to 18 U.S.C. Section 3663A.

11. The defendant further agrees that forfeiture is independent of any assessment, fine,
cost, restitution, or penalty that may be imposed by the Court. The defendant knowingly and
voluntarily waives all constitutional, legal and equitable defenses to the forfeiture of the assets in
any judicial or administrative proceeding, including excessive fines under the Eighth Amendment
to the United States Constitution. In addition, the defendant agrees to waive: any applicable
time limits for administrative or judicial forfeiture proceedings, the requirements of Fed. Rs. Crim.
P. 32.2 and 43(a), and appeal of the forfeiture.

12. The defendant also agrees to fully and truthfully disclose the existence, nature and
location of all assets in which the defendant has or had any direct or indirect financial interest or
control, and any assets involved in the offense of conviction. The defendant agrees to take all
steps requested by the United States for the recovery and forfeiture of all assets identified by the
United States as subject to forfeiture. This includes, but is not limited to, the timely delivery upon
request of all necessary and appropriate documentation to deliver good and marketable title,
consenting to all orders of forfeiture, and not contesting or impeding in any way with any criminal,
civil or administrative forfeiture proceeding concerning the forfeiture.

13. The defendant is aware that Title 18, United States Code, Section 3742 and Title 28,
United States Code, Section 1291 afford the defendant the right to appeal the sentence imposed in
this case. Acknowledging this, in exchange for the undertakings made by the United States in

this plea agreement, the defendant hereby waives all rights conferred by Sections 3742 and 1291
5

rnin

 
Case 1:19-cr-20551-FAM Document 19 Entered on FLSD Docket 01/15/2020 Page 6 of 7

to appeal any sentence imposed, including any restitution order, or to appeal the manner in which
the sentence was imposed, unless the sentence exceeds the maximum permitted by statute or is the
result of an upward departure and/or an upward variance from the advisory guideline range that
the Court establishes at sentencing. The defendant further understands that nothing in this
agreement shall affect the government’s right and/or duty to appeal as set forth in Title 18, United

States Code, Section 3742(b) and Title 28, United States Code, Section 1291. However, if the

[This space intentionally left blank. ]

 
Case 1:19-cr-20551-FAM Document 19 Entered on FLSD Docket 01/15/2020 Page 7 of 7

 

United States appeals the defendant’s sentence pursuant to Sections 3742(b) and 1291, the
defendant shall be released from the above waiver of appellate rights. By signing this agreement,
the defendant acknowledges that the defendant has discussed the appeal waiver set forth in this
agreement with the defendant’s attorney. The defendant further agrees, together with this Office,
to request that the Court enter a specific finding that the defendant’s waiver of his right to appeal
the sentence imposed in this case was knowing and voluntary.

14. This is the entire agreement and understanding between this Office and the defendant.
There are no other agreements, promises, representations, or understandings.

ARIANA FAJARDO ORSHAN
UNITED STATES ATTORNEY

Date: t|\4] 2020 By: WAa3er

MARIA K. MEDETIS  ~
ASSISTANT UNITED STATES ATTORNEY

Date: hey | Law By: CONG

 

 

CHRISTIAN DUNHAM

ATTORNEY FOR DEFENDANT
Date: 4/2020 By: Ga. kL

ERIC LIN

DEFENDANT

 
